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ADVICE OF DEPOSIT - NON-NEGOTIABLE

1/16/2017

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AUSTIN L. BROWN
459 SW JENNIFER CT
LAKE CITY, FL 32024

Pay Period: 01/04/2017 - 01/10/2017 Direct Deposit

NON-NEGOTIABLE

SSN Status (Fed/State)

 

 

 

 

 

 

Employee

AUSTIN L. BROWN, 459 SW JENNIFER CT, LAKE CITY, FL 32024

Earnings and Hours Hours Rate Current YTD Amount

Hourly Regular Rate 0.00 585.75

Taxes Current YTD Amount

Medicare Employee Add! Tax 0.00

Federal Withholding 0.00

Social Security Employee 0.00 -36.32

Medicare Employee 0.00 -8.49
0.00 -44.81

Adjustments to Net Pay Current YTD Amount

UNIFORMS 100.00 -67.80

Net Pay 400.00 473.14

Direct Deposit Amount

Checking Ei 100,00

Memo

Direct Deposit

ee =e
Pay Period: 01/04/2017 - 01/10/2017

LAWN ENFORCEMENT AGENCY, INC., P.O. BOX 141091 3523723175, LAWN ENFORCEMENT -- EIN: XX-XXXXXXX

 

 

 

 

 

 

Employee

AUSTIN L. BROWN, 459 SW JENNIFER CT, LAKE CITY, FL 32024

Earnings and Hours Hours Rate Current YTD Amount

Hourly Regular Rate 0.00 685,75

Taxes Current YTD Amount

Medicare Employee Addi Tax 0.00

Federal Withholding 0.00

Social Security Employee 0.00 -36.32

Medicare Employee 0.00 -8.49
0.00 -44.84

Adjustments to Net Pay Current YTD Amount

UNIFORMS 100.00 -67,80

Net Pay 100.00 473.14

Direct Deposit Amount

Checking - ******6368 100.00

Memo

Direct Deposit

LAWN ENFORCEMENT AGENCY, INC., P.O.

SSN Status (Fed/State)

Pay Period: 01/04/2017 - 01/10/2017

BOX 141001 3523723175, LAWN ENFORCEMENT -- cn

Allowances/Extra
Fed-4/0/FL-0/0
Pay Date: 01/16/2017

Powered by Intult Payroll

Allowances/Exira
Fed-4/0/FL-0/0
Pay Date: 01/16/2017

Powered by Intuit Payroll

 
Case 1:17-cv-00305-MW-GRJ Document 24-8 Filed 04/10/18 Page 2 of 2

ADVICE OF DEPOSIT ~ NON-NEGOTIABLE

1/16/2017

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AUSTIN L. BROWN
459 SW JENNIFER CT
LAKE CITY, FL 32024

Pay Period: 01/04/2017 - 01/10/2017 Direct Deposit

 

 

 

 

 

 

Employee
AUSTIN L. BROWN, 459 SW JENNIFER CT, LAKE CITY, FL 32024
Earnings and Hours Hours Rate Current YTD Amount
Hourly Regular Rate 9.50 11.00 104.50 585.75
Taxes Current YTD Amount
Medicare Employee Addl Tax 0.00
Federal Withholding 0.00
Social Security Employee -6.48 -36.32
Medicare Employee -1.51 -8.49
-7.99 -44,81
Adjustments to Net Pay Current YTD Amount
UNIFORMS -2.60 -167.80
Net Pay 93.91 373.14
Direct Deposit Amount
Checking hi 93.91
Paid Time Off Earned YTD Used Available
Vacation 0.00 0.00
Memo

 

NON-NEGOTIABLE

SSN

 

Pay Period: 01/04/2017 - 01/10/2017

Direct Deposit

LAWN ENFORCEMENT AGENCY, INC., P.O. BOX 141091 3523723175, LAWN ENFORCEMENT -- EIN: XX-XXXXXXX

 

 

 

 

 

 

Employee.
AUSTIN L. BROWN, 459 SW JENNIFER CT, LAKE CITY, FL 32024
Earnings and Hours Hours Rate Current YTD Amount
Hourly Regular Rate 9.50 411.00 104.50 585.75
Taxes Current YTD Amount
Medicare Employee Addl Tax 0.00
Federal Withholding 0.00
Social Security Empioyee 6.48 -36.32°
Medicare Employee -1,54 -8.49
-7.99 -44,81
Adjustments to Net Pay Current YTD Amount
UNIFORMS -2.60 -167.80
Net Pay 93.91 373.14
Direct Deposit : Amount
Checking ml 93.91
Paid Time Off Earned YTD Used Available
Vacation 0.00 0.00
Memo

 

SSN

Pay Date: 01/16/2017

Powered by Intuit Payroll

 

Pay Period: 01/04/2017 - 01/10/2017

Direct Deposit

LAWN ENFORCEMENT AGENCY, INC., P.O. BOX 141091 3523723175, LAWN ENFORCEMENT -- EIN: | |

Pay Date: 01/16/2017

Powered by Intuit Payroll

 
